        Case 1:19-mc-00145-TSC Document 405 Filed 01/19/21 Page 1 of 3




                            IN THE DISTRICT COURT FOR THE
                                DISTRICT OF COLUMBIA


                                           )
In the Matter of the                       )
Federal Bureau of Prisons’ Execution       )
Protocol Cases,                            )
                                           )
LEAD CASE: Roane et al. v. Barr            )       Case No. 19-mc-00145 (TSC)
                                           )
                                           )
THIS DOCUMENT RELATES TO:                  )
                                           )
ALL CASES                                  )
                                           )

                                   NOTICE OF WITHDRAWAL

       To Clerk of Court and all parties of record, please take notice of the withdrawal of

CRISTEN C. HANDLEY as counsel for all defendants in these consolidated cases. Defendants

remain represented by Assistant U.S. Attorney Johnny Walker from the U.S. Attorney’s Office for

the District of Columbia.


Dated: January 19, 2021

Respectfully submitted,


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        Case 1:19-mc-00145-TSC Document 405 Filed 01/19/21 Page 2 of 3




                              CERTIFICATE OF SERVICE
       I hereby certify that on January 19, 2021, I caused a true and correct copy of foregoing to

be served on all following counsel of record via the Court’s CM/ECF system.
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       Case 1:19-mc-00145-TSC Document 405 Filed 01/19/21 Page 3 of 3




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